Case 1:99-cV-01289-.]DB-tmp Document 87 Filed 06/09/05 Page 1 of 4 Page|D 86

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wEsTERN DISTRICT 0F TENNESSEE 05 JUH ..9 FH l , 3
EASTERN I)IvlsIoN AT JACKsoN *' "
HQBEH`€ .53~
JoHNsoN GREYBUFFALO, ) ';JERF’L li$ bris¥'§UL‘O
) 1*“ N, ME.‘..|;""}.J!S
Plaintiff )
)
v. ) No.: 1: 99-1289 Bre~P
)
CoRRECTloNs CoRPoRATIoN oF )
AMERICA, er al., )
)
Defendants )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005 . This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated:this al dayof le/v{ ,2005.

T;P€W/.

UNITED STATES-DI~S:PRI'€-'l"-JUDGE
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APPROVED FOR ENTRY:

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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P. C. P. O Box 1126,
Knoxville TN 37901- 1 126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia sc 29201 on June@@ 2005

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OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
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June 13, 2005 to the parties listed.

 

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Case 1:99-cV-01289-.]DB-tmp Document 87 Filed 06/09/05 Page 4 of 4 Page|D 89

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Honorable J. Breen
US DISTRICT COURT

